
      1
     O.O., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: M-V.O-G.,  and  Concerning M.L.O. No. 24SC662Supreme Court of Colorado, En BancNovember 25, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA370
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    